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 4                        UNITED STATES DISTRICT COURT
 5                                DISTRICT OF NEVADA
 6                                          ***
 7   UNITED STATES OF AMERICA,                )
                                              )      2:08-CR-00288-PMP-RJJ
 8                   Plaintiff,               )
                                              )
 9   vs.                                      )
                                              )            ORDER
10   CALWAY WILLIAM CAULEY,                   )
                                              )
11                                            )
                     Defendant.               )
12                                            )
13            IT IS ORDERED that Plaintiff United States of America’s Motion to
14   Reconsider this Court’s Denial of the Order of Forfeiture (Doc. #324), filed on
15   August 12, 2010 is DENIED without prejudice to renew following resolution of the
16   Appeal pending before the Ninth Circuit Court of Appeal.
17

18   DATED: September 20, 2010.
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                                              PHILIP M. PRO
22                                            United States District Judge
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